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             IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MONTANA

                          BILLINGS DIVISION

UNITED STATES OF AMERICA,                    CR-13-12-BLG-DWM

            Plaintiff,
                                               FINDINGS AND
vs.                                            RECOMMENDATION
                                               CONCERNING PLEA
KIRK VON FELHABER,

            Defendant.

       The Defendant, by consent, has appeared before me under Fed. R.

Crim. P. 11 and has entered a plea of guilty to the Count contained in

the Superseding Information, which charges the crime of conspiracy to

possess with intent to distribute marijuana in violation of 21 U.S.C. §

846.

       After examining the Defendant under oath, the Court determined

that the guilty plea was knowingly, intelligently, and voluntarily

entered; that the Defendant fully understands his constitutional rights

and the extent to which such rights are waived; and that the offense

charged and to which a guilty plea was entered contained each of the

essential elements of the offense.
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     The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that he fully

understands each and every provision of the agreement and that all of

the statements in the Plea Agreement are true. I recommend that the

Defendant be adjudged guilty and that sentence be imposed. A

presentence report has been ordered.

     Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days. 28 U.S.C. §

636(b)(1)(B); Fed. R. Crim. P 59(b)(2).

     DATED this 22nd day of August, 2013.



                            /S/ Carolyn S. Ostby
                            United States Magistrate Judge
